Case 09-10138-MFW Doc 4255-3 Filed 11/08/10 Pageiof1

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Minute Entry
Hearing Information:
Debtor: Nortel Networks Inc., et al.
Case Number: ()9-10138-KG Chapter: 11

Date/Time /Room: MONDAY, NOVEMBER 08, 2010 12:30 PM CRT#3, 6TH FL.

Bankruptcy Judge; KEVIN GROSS
Courtroom Clerk: SHERRY SCARUZZI
Reporter /ECR: GINGER MACE

Matters:

1) OMNIBUS HEARING
R/M#:  4,252/ 0

2) ADM: 09-10164-KG
Pretrial Conference Adv. 10-53066 & 10-53065
R/M#: 361/ 0
VACATED: Entered in Error

3) ADV: 1-10-53066
Nortel Networks Limited vs Communications Test Design, Inc.
Pretrial Conference
R/M#: 20/0
VACATED: Duplicate

4) ADV: 1-10-53065
Nortel Networks, Inc. vs Communications Test Design, Inc.
Pretrial Conference
R/M#: 17/0

Appearances:

SEE ATTACHED COURT SIGN-IN-SHEET

Proceedings:

HEARING HELD. AGENDA ITEMS:

#1 - #4 - These matters are either Continued/Resolved/ Withdrawn

#5 - CNO Filed and Order Signed

#6 - Adjourned to 11/23/10 @ 10:00 am

#7 - Letter Briefs to be filed in one week; Judge will issue an order

#8 - ORDER SIGNED

#9 - Adv. 10-53065 - Certification of Counsel - Dates Set: 12/6 @ 1:00 - 3:00 pm, Motion to Dismiss; PTC 9/21/11 @
10:00 am; Trial starts @ 9:30 am each day - 10/3/11 - 10/6/11 (untill noon on 10/6); 10/1111 - 10/14/11 - ORDER
SIGNED

#10 - Canadian Debtors agreed to modifications of the orders approving the Motion Record that address the Debtors'
concerns. No continued need for a joint hearing on the Motion Record.

Page | of 1 11/8/2010 = 2:00:33PM
